       Case 1:01-cv-12257-PBS Document 6937-2 Filed 03/02/10 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


IN RE PHARMACEUTICAL INDUSTRY                  )
AVERAGE WHOLESALE PRICE                        )    MDL No. 1456
LITIGATION                                     )
                                               )    Civil Action No.: 01-CV-12257 PBS
                                               )
                                               )    Sub-Category Case No.: 07-12141
THIS DOCUMENT RELATES TO:                      )
                                               )
State of Iowa v. Abbott Laboratories, et al.   )    Judge Patti B. Saris
                                               )
                                               )


             [PROPOSED] ORDER OF DISMISSAL OF CHIRON CORPORATION

       The Motion for Dismissal is hereby GRANTED.           All claims in this action against

Defendant Chiron Corporation are dismissed with prejudice and without costs to any party.

       IT IS SO ORDERED.



DATED: __________________, 2010                    ______________________________
                                                   The Honorable Patti B. Saris
                                                   Judge
